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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9   STEVEN R. ERGLER, an individual,                  CASE NO. C19-5608-JCC
10                         Plaintiff,                  MINUTE ORDER
11           v.

12   ETHICON ENDO-SURGERY, LLC, a Puerto
     Rico limited liability company,
13
                           Defendant.
14

15
            The following Minute Order is made by direction of the Court, the Honorable John C.
16
     Coughenour, United States District Judge:
17
            This matter comes before the Court on the parties’ Stipulated Motion to Amend Minute
18
     Order Setting Trial Date & Pretrial Dates (Dkt. No. 45). For good cause shown, the Court
19
     GRANTS the motion and ORDERS that the deadline for expert witness disclosures is extended
20
     until November 16, 2020. All other dates on the case schedule remain unchanged.
21
            DATED this 6th day of November 2020.
22
                                                          William M. McCool
23
                                                          Clerk of Court
24
                                                          s/Paula McNabb
25                                                        Deputy Clerk

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     MINUTE ORDER
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